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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                     IN THE UNITED STATES DISTRICT COURT                             October 25, 2021
                     FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                              VICTORIA DIVISION


STATE OF TEXAS; STATE OF
LOUISIANA,

                                                        Civ. Action No. 6:21-cv-00016
                     Plaintiffs,

      v.

The UNITED STATES OF AMERICA, et al.;


                     Defendants.




                              STIPULATION AND ORDER

    The parties in the above-captioned matter stipulate to the following scheduling order:

  1) Plaintiffs shall file their amended complaint, and accompanying motion challenging

     Defendants’ Guidelines for the Enforcement of Civil Immigration Law (Sept. 30, 2021), no

     later than October 22, 2021.

  2) Defendants shall serve the full certified Administrative Record on Plaintiffs no later than

     November 4, 2021.

  3) Defendants shall file their opposition to Plaintiffs’ motion challenging Defendants’

     Guidelines for the Enforcement of Civil Immigration Law (Sept. 30, 2021), no later than

     November 12, 2021.




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    4) Plaintiffs shall file their reply memorandum to their motion challenging Defendants’

        Guidelines for the Enforcement of Civil Immigration Law (Sept. 30, 2021), no later than

        November 19, 2021.

    5) Defendants’ shall answer or otherwise respond to Plaintiffs’ complaint or amended

        complaint no later than January 27, 2022. 1

    6) The parties may agree to alter any of the above deadlines by agreement. To the extent any

        of the above deadlines are adjusted by agreement, one of the parties shall file a notice with

        the Court informing it of the changed deadline.



        It is SO ORDERED.


                __, 2021
        October 25

                                                                    _________________________
                                                                    Drew B. Tipton
                                                                    United States District Judge




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  The parties previously stipulated for the responsive pleading date to be due January 27, 2021, but meant
for the date to be January 27, 2022. Further, Plaintiffs stipulate to this responsive pleading deadline insofar
as it would not have collateral consequences for issues like the availability of discovery or consolidation
under Rule 65. Plaintiffs preserve their position that, in the event such issues arise, any delay in filing a
responsive pleading should not prejudice the resolution of those issues.
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Date: October 25, 2021             Respectfully submitted.

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                                  CERTIFICATE OF SERVICE

        I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on October 25, 2021, which automatically serves all counsel of record who are

registered to receive notices in this case.

                                                     /s/ Adam D. Kirschner
                                                     ADAM D. KIRSCHNER


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